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Case 2:2446v- Ope pplem BAT PWogarhesnp-t Rietowmobi24 Page 2 of 6,

cops Ment o - RESOLUTION REQUEST
Corrections LOG ID NUMBER:2.4 $02.57.5
WASHINGTON STATE Facility/office received Date/time received
Check one: _ Include Log ID number for appeal or rewrite MCC TRU sun 2 0 2024
[_] Initial [7] Health Services [[] Emergency PslAppeal [_] Rewrite
Last name First Middle initial | DOC number
WHETE EAGLE  pAS, VAM] Sue |FSsTsy
Facility/office  Unit/cell
Mce TRU RcSk2a~]
Location Date of incident Time
mcc TE 4 6/6/20 2Y 12720 am
Witness name(s) and DOC number (if relevant): { / : '

Who (names) and/or what (policy, procedures, or practice) are y vp mitting your concern about
A le Doc Q Vol bel Pep Soe er eel

\ ‘4 A MCL C C2 m7 fo / ry

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IM co all mate av SSor ,f

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Thank. ot at

Suggested remedy:

Signature (Required): Tana ec Ep Date: eliaoso4—

Resolution Specialist Response

(J Formal concern/appeal paperwork is being prepared (-] Correspondence
[_] Request is not accepted per the Resolution Program Manual [_] Administratively withdrawn
[_] You requested to withdraw the concern [] informal resolution attempt

(_] Additional information and/or rewrite needed. Return by:
[_] No rewrite received. Resolution Specialist withdrawal on:

| Kl] Sentto_HQ on__ 6-21-24 _] Received from on

Your appeal of the Not Accepted determination has been forwarded to the Resolution Program Manager/designee for
review. Once HQ has reviewed your appeal and reached a decision, you will receive a written response.

B. Peterson CS2 & Relevwor 6-21-24

Resolution Specialist Signature - Date
DOC 05-165 (Rev. 10/12/22) Page 1 of 2 p 2, 2! poc 50.100, Doc 780.200
Case 2:24-cv-01388-JCC-BAT Document5-1 Filed tA 12024, 30 of § x 4 | . KS
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Department of
Corrections CLASSIFICATION APPEAL

WASHINGTON STATE

ni tact laiitife. Eagle PSSISE Mec TRu BS au
Name DOC number Facility - at

Per DOC 300.380 Classification and Custody Facility Plan Review and DOC 310.150 Reception,
Initial Classification, and Custody Facility Plan, assigned custody level may be appealed within 72
hours of being notified of the decision. Facility placement decisions cannot be appealed.

DECISION APPEAL TO
LC Classification decisions made at the facility Superintendent/Community Corrections Supervisor
( Prison Compact transfer Secretary/designee
eadquarters Classification Unit Classification and Case Management Administrator/designee
9 MAX Custody Committee Appropriate Assistant Secretary for Prisons/designee

Fisauy qilers-Sommunity Screening Committee Classification and Case Management Administrator/designee

| am appealing the custody assignment decision made by:
Ancc. tiea class PeAw g ASI PrealOvew!irs d-ecisiny T-eam_ dg, pat

Reason(s):

Lhtocl Sexual. Re Assignment Bottapisr Savigert} deh, in spas,
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Gunvtals — Vigitcs D'Ans Hosed at TRUSo cu)l anale GP
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A.D AZLAWC et oll Reason af 'Pronts’ And ews fF Should
Be HoSed atk weoow , stabed ReaStn Bu class tear iS that
XL fle Fule db Sots, Tam pot cou + ovdered ty SotaO, fF pv vot
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S Ags Gécion: $f Dehied Reverssd s a 50 ma vin yee” 7T> WOocr oul
a}
Reason(s):
It appears you are appealing your facility placement; per DOC policy 300.380, section VIII.B, facility
placement decisions cannot be appealed. For thé record, HCSC did not deny your transfer to WCCW due
to your refusal to participate in SOTAP; your refusal is why you are limited to MI3 custody. It does not

appear you are appealing your custody level above. If you are appealing your Housing Protocol decision
from June 14, 2024, DOC policy 490.700, section VII.A.2 states you need to do so in writing to

Secretary Cheryl Strange's office. ae
Gary Bohon, Classification & Case Mgt Admin Casto w | 8/20/2024

Oh

Reviewer Signature a

The contents of this document may be eligible for public disclosure. Social Security Numbers are considered confidential Information and
will be redacted in the event of such a request. This form Is governed by Executive Order 16-01, RCW 42.56, and RCW 40.14.

Distribution: ORIGINAL - Central file/Imaging file | COPY - Appealer

DOC 07-037 (Rev. 07/17/23) DOC 300.380, DOC 310.150, DOC 320.250
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Case 4 bretedeyempen Pocumbars-C Fil 09/fAA)~Rage h of of 3S

State of Washington coe ceeamermaastionten, ustody Score

Department of Corrections Offender Version
Printed By: Reynolds, Alexandra M

Assigned Counselor: Reynolds, Alexandra M Print Date: 08/05/2024

Inmate: WHITE EAGLE, Naomi Sue (855988)

1

t : Regul
| Gender: Male a Age: 61 pategery eguiar Body Status: Active Inmate

Custody Level: ation: MCC-TRU — B / B5221

: HV
Ber Medium

CC/CCO; Reynolds, Alexandra M
ERD: 02/09/2028 / y '

Purpose of Review \

Purpose Of Review Date initiated
Plan Change 07/17/2024

Multi-Disciplinary Team Custody

Promotion 07/17/2024

Custody Score

Current Custody
Current Custody Score: 5

Minimum 3 - Long Term Minimum

, Infraction Behavior
Infraction Behavior Score: 15

Program Behavior
Program Behavior Score: 12
Month Year Points Non-Award Reason
February 2024 2
March 2024 2
April 2024 2
May 2024 2
June 2024 2
July 2024 2

Detainers
Detainer Score: 10

Felony ICE
Current No No
Potential No No

Escape History ~
Escape History Score: 15

DOC
Escape Description Month Year

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Custody Score:

Calculated Custody: Minimum

57 |

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Disciplines

Discipline Other Discipline Staff

Mental Health Hughs, Nakisha M
Other Sex Offender Treatment Manager Dandescu, Lisa B

Comments/Recommendations

Submit/Review Name Comments
Date
07/18/2024 Reynolds, Alexandra M (Offender) White Eagle, Naomi was encouraged to attend FRMT; however, she

invokes his right to waive his appearance. I am a full female and should be in the
women’s prison,

(Counselor) White Eagle, Naomi is a MON offender out of Pierce/King County,
With Snohomish being the county of origin. Current offense is cause AB/AC. PREA
questions and reporting procedures were reviewed with no concerns noted. PREA
score (PV) is cause for a monitoring plan. White Eagle, Naomi is directed to
increase their interaction with staff, notify their Counselor of all requested bed
moves, and report any and all sexually motivated interactions with any persons.
White Eagle, Naomi is court ordered to complete substance abuse and mental
health treatment programming. She is referred to bridges to life, SA Int Out-Pnt,
T4C, and CBT, White Eagle, Naomi has a verified GED Diploma. She Is not
assigned to an education program. The most recent job screening gives an
approval to work in all areas except maintenance, education, access assistant,
isolated posts, and groundskeeper. This job screening will expire on 7/1/26. She
currently works as a custodian. Last serious infraction is a WAC 714 on 2/12/24.
Earned time is calculated. There are no felony warrants, facility holds, prohibited
placements, and five offender keep separates. Separations have been reviewed
and will remain unchanged. WA One, HRS/Triggers, and Personal
Goals/Incentives were reviewed and updated as appropriate. Per Mental Health
Hughs, “Ms, White Eagle is currently using mental health on a regular basis, She
attends bi weekly appointments, and has good insight into her mental health.
She is receiving GA care as well. I wanted to add an appropriate placement. I do
not believe from a mental health standpoint that it is conducive to her mental
health to remain in TRU. She has expressed concerns with not feeling safe
anymore, she has increased mental health symptoms and it would be a more
appropriate placement if she was placed in WSR, would be my recommendations.
She has the ability to have her needs met there and it is a smaller population
amongst that are as well as has another incarnated individual that recently was
placed there following her gender feminization”. No targets due to refusing to
participate in crime related programing. Per Lisa Dandescu White Eagle is not
amenable or willing to participate in crime related programming at any location.
GCTP is in place and White Eagle is currently working on completing the
objectives. On 1/10/24 she was transferred from AHCC to MCC-TRU on an RM1
override. Current custody assignment is Medium with 57 custody points.
Recommend White Eagle, Naomi be promoted to MI3 custody on an HCR override
and be retained at TRU.

07/18/2024 Browne, Kevin C (FRMT) FRMT: CUS Browne, CC2 Cardenas, CC2 Reynolds, Officer True, Sotap I/t
White Eagle is expected to remain infraction free and take part in programming
as assigned, FRMT concurs with counselor recommendation to promote to mi3
custody on an HCR and but to refer to HQ classification for transfer to WSR if
appropriate, I/I White Eagle would like to transfer to WCCW, however that is
currently not an option. RGCTP is currently in effect but she is not eligible for
restoration at this time. Mental Health believes that WSR 3A would be a more

? 6 $0

Concur

Yes
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appropriate facility due to the lower numbers. No targets at this time due to not
participating in SOTAP.

07/24/2024 O'Connor, Leslie E Recommend maintain MI3 custody (HCR) and transfer to MCC-WSRU forno more’ Yes
than six months due to medical needs per discussion with local HSM. Local IIU
report no concerns with WSRU placement in 3A.

08/05/2024 THompsony Stacy M 8-1-24 FORMAL HCSC ATTENDEES: J. Miller-SCMO (Chair); S. Thompson-AA3; M. Yes

Cossette-CS4; T. Morrisey-SS; S. Hanson-SOTP; S. Garner-INV3; D. Feist-

Admin. CBC; R. Fall-CS4; L. Roberts-CPM. Decision: Promote to MI3 custody with

an HCR override, Due to lack of needed programming to mitigate risk. Retain at

current facility. oe as

Assigned Custody

Calculated Assigned Custody: Override Reason: Override Narrative:
Custody:
Minimum Minimum 3 - Long Term HCSC Assigns - Community Due To Lack Of Needed Programming To Mitigate

Minimum Risk Risk

Classification Status: Completion Date: Custody Assigned By:

In-Effect 08/05/2024 Stacy Thompson, Administrative Assistant 3
DOC: 855988 Name: WHITE EAGLE, Naomi Sue

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